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                      PX17 Attachment F
Invoices from affiliate marketers obtained from office of
                    Christy Blackburn
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